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                       UNITED STATES BANKRUPTCY COURT
                        SOUTHERN DISTRICT OF FLORIDA

 In re:    Miriam Chirino Perez                               Case No.: 25-11909-LMI
                                                              Chapter 13
                 Debtor                /

           NOTICE OF WITHDRAWAL OF OBJECTION TO CLAIM AND
                        CERTIFICATE OF SERVICE


          COMES NOW, undersigned counsel and files this Notice of Withdrawal of

Objection to Claim of Space Coast Credit Union (ECF#32).

                            CERTIFICATE OF SERVICE

      I HEREBY CERTIFY, that a copy of this Notice of Withdrawal was sent via
CM/ECF and email to: Nancy K. Neidich, Trustee, PO Box 279806
Hollywood, FL 33027; and via U.S. Regular Mail to: Debtor(s), Miriam Chirino Perez ,
6640 SW 12 ST Unit 1, Miami, FL 33144; and to all creditors of record.

 Respectfully submitted:              Jose A. Blanco, P.A.
 June 30, 2025                        By: /s/ Jose A. Blanco | FBN: 062449
                                      Attorney for Debtor(s)
                                      102 E 49th ST
                                      Hialeah, FL 33013,
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